      Case 1:19-gj-00048-BAH Document 44 Filed 10/20/19 Page 1 of 1



                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
IN RE:                               )
                                     )
APPLICATION OF THE COMMITTEE         ) Civil Action No. 1:19-gj-00048 BAH
ON THE JUDICIARY, U.S. HOUSE OF )
REPRESENTATIVES, FOR AN ORDER )
AUTHORIZING THE RELEASE OF          )
CERTAIN GRAND JURY MATERIALS )


       NOTICE OF COMPLIANCE WITH ORDER OF OCTOBER 17, 2019

       In compliance with the Court’s Order of October 17, 2019, attached hereto is

Exhibit 10 to the Department of Justice’s Response to the Judiciary Committee’s

Application for the Release of Certain Grand Jury Materials (the Weinsheimer

Declaration), redacted in accordance with the Court’s direction.

Date: October 19, 2019                              Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                    JAMES M. BURNHAM
                                                    Deputy Assistant Attorney General

                                                    /s/ Elizabeth J. Shapiro
                                                    ELIZABETH J. SHAPIRO
                                                    CRISTEN C. HANDLEY
                                                    Attorneys, Civil Division
                                                    U.S. Department of Justice
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                                                    Washington, DC 20005
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                                                    Fax: (202) 616-8460

                                                    Counsel for Department of Justice
Case 1:19-gj-00048-BAH Document 44-1 Filed 10/20/19 Page 1 of 5




              Exhibit 10
   Case 1:19-gj-00048-BAH Document 44-1 Filed 10/20/19 Page 2 of 5
              CONTAINS INFORMATION SUBJECT TO CRIMINAL RULE 6(e)


                      THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                              )
IN RE:                                        )
                                              )
APPLICATION OF THE COMMITTEE                  )   Civil Action No. 1: 19-gj-00048 BAH
ON THE JUDICIARY, U.S. HOUSE OF               )
REPRESENTATIVES, FOR AN ORDER                 )
AUTHORIZING THE RELEASE OF                    )
CERTAIN GRAND JURY MATERIALS                  )

                   DECLARATION OF BRADLEY WEINSHEIMER

         I, Bradley Weinsheimer, declare the following to be true and correct:

         1.     I am an Associate Deputy Attorney General for the Department of Justice

("Department" or "DOJ''). I have held this position since July 2018. Prior to that time, I

served in the Department's National Security Division, from March 20 I 6 to July 20 I 8,

serving as Acting Chief of Staff to the Assistant Attorney General from May 2016 until

approximately February 2018. I have worked at DOJ since 1991, including twenty years

as an Assistant United States Attorney in Washington, D.C.

         2.     I did not directly work on or supervise the Department's investigation into

Russia's interference in the 2016 presidential election ("Russia Investigation.")     I do,

however, work on issues relating to disclosure of Russia Investigation documents both to

Congress and pursuant to Freedom of Information Act requests. I also participated in the

review of the Special Counsel's March 22, 2019 confidential report to the Attorney General

("Mueller Report") to determine what material should be redacted. I am familiar with the

Mueller Report's contents and redactions, including those redactions for grand jury

information. The information I provide is based on my review of the Mueller report,

underlying documents, Special Counsel Office files, and information I have obtained from



                                              1
Case 1:19-gj-00048-BAH Document 44-1 Filed 10/20/19 Page 3 of 5
    Case 1:19-gj-00048-BAH Document 44-1 Filed 10/20/19 Page 4 of 5
               CONTAINS INFORMATION SUBJECT TO CRIMINAL RULE 6(e)




        6.        On page 13 of Volume II, the following information is redacted to protect

grand jury secrecy:




        7.        On page 46 of Volume II, the following infmmation is redacted to protect

grand jury secrecy:                                                  The sentence thus reads

as follows, with the highlighted p01tion redacted from the Report: "But Flynn's lies to the

FBI violated federal criminal law,                                                      and

resulted in Flynn's prosecution for violating 18 U.S.C. § 1001."

       8.         On page 97 of Volume II, the following information is redacted to protect

grand jury secrecy:




-            The sentence thus reads as follows , with the highlighted pmtion redacted from

the Report: "By the time of the President's follow-up meeting with Lewandowski,         •

       9.         On page 105 of Volume II, the following information is redacted to protect

grand jury secrecy: under the first redaction, the words

                                                     Under the second redaction, the words

                        That paragraph thus reads, "On July 12, 2017, the Special Counsel's



                                              3
    Case 1:19-gj-00048-BAH Document 44-1 Filed 10/20/19 Page 5 of 5
               CONTAINS INFORMATION SUBJECT TO CRIMINAL RULE 6(e)


Office                                   Trump Jr.

related to the June 9 meeting and those who attended the June 9 meeting." Exh. 9 at 105.

         10.     While not in Volume II, one page in Appendix C also contains grand jury

material

-              On page C-2 of Appendix C, the following is redacted to protect grand jury

secrecy:




I declare under penalty of perjury that the foregoing is true and correct.
                                                                             ~




Date




                                              4
